           Case 1:15-cv-11545-NMG Document 80 Filed 02/26/18 Page 1 of 3



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



SUNRISE TECHNOLOGIES, INC.,

        Plaintiff,

v.                                                      Civil Action No.: 1:15-cv-11545

CIMCON LIGHTING, INC.


        Defendant.




     JOINT MOTION TO EXTEND THE DEADLINE TO CONSUMMATE SETTLEMENT
      OR ALTERNATIVELY UNOPPOSED MOTION BY PLAINTIFF TO REOPEN THE
                                  CASE

         The parties are currently engaged in productive settlement discussions, have been

 exchanging draft agreements, are hopeful that settlement can be achieved, and respectfully

 request that the Court extend to March 2, 2018 the deadline for either party to reopen the action

 without prejudice, upon good cause shown, if settlement is not consummated.


         In the alternative, if the Court denies the parties’ joint motion for an extension, in view of

 the materiality of the sole issue still under discussion and to preserve its rights, Plaintiff Sunrise

 Technologies, Inc. (“Sunrise”) hereby respectfully requests that the court re-open the above

 captioned litigation between Sunrise and CIMCON Lighting, Inc. (“CIMCON”). The parties

 aver that despite their respective good faith efforts to reach settlement, failure to reach an

 agreement with respect to the sole remaining material term would bring settlement efforts to an

 impasse. It is Sunrise’s understanding that Cimcon does not intend to oppose this motion.
        Case 1:15-cv-11545-NMG Document 80 Filed 02/26/18 Page 2 of 3



Dated: February 26, 2018                  Respectfully submitted,

 /s/ Adam J. Kessel                       /s/ Michael A. Albert
Adam J. Kessel (BBO # 661,211)            Michael A. Albert (BBO # 558566)
FISH & RICHARDSON P.C.                    Marie A. McKiernan (BBO#689818)
One Marina Park Drive                     Giorgos Stamatopoulos (NY #5163340)
Boston, MA 02110                          WOLF, GREENFIELD & SACKS, P.C.
(617) 542-5070 Telephone                  600 Atlantic Avenue
Email: kessel@fr.com                      Boston, MA 02210
                                          (617) 646-8000 Telephone
COUNSEL FOR                               Email: malbert@wolfgreenfield.com
CIMCON LIGHTING, INC.                            mmckiernan@wolfgreenfield.com
                                                 gstamatopoulos@wolfgreenfield.com

                                          COUNSEL FOR
                                          SUNRISE TECHNOLOGIES, INC.




                                      2
         Case 1:15-cv-11545-NMG Document 80 Filed 02/26/18 Page 3 of 3



                                CERTIFICATE OF SERVICE

I certify that this document is being filed through the Court’s electronic filing system, which
serves counsel for other parties who are registered participants as identified on the Notice
of Electronic Filing (NEF). Any counsel for other parties who are not registered participants are
being served by first class mail on the date of electronic filing.


                                                            /s/ Michael A. Albert______
                                                            Michael A. Albert




                                                3
